Case 1:15-cv-00152-RGA Document 570-1 Filed 07/29/19 Page 1 of 11 PageID #: 44704




                    EXHIBIT A
Case 1:15-cv-00152-RGA Document 570-1 Filed 07/29/19 Page 2 of 11 PageID #: 44705



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

   BIO-RAD LABORATORIES, INC. and
   THE UNIVERSITY OF CHICAGO

                            Plaintiffs,

                          v.                             Civ. A. No. 15-152-RGA

   10X GENOMICS, INC.

                            Defendant.



                           [PROPOSED] PERMANENT INJUNCTION


         WHEREAS the Court has found that defendant 10X Genomics, Inc. (“10X”) has infringed

  claims 1 and 9 of plaintiffs Bio-Rad Laboratories, Inc. and The University of Chicago’s

  (collectively, “Plaintiffs”) U.S. Patent No. 8,889,083 (the “’083 Patent”), claims 6 and 8 of

  Plaintiffs’ U.S. Patent No. 8,304,193 (the “’193 Patent”), and claims 1, 10, and 11 of Plaintiffs’

  U.S. Patent No. 8,329,407 (the “’407 Patent”) (collectively, the “’083 Patent,” “’193 Patent,” and

  “’407 Patent” shall be referred to as the “Patents In-Suit”);

         WHEREAS, the Court has found that Plaintiffs will suffer irreparable harm if 10X

  continues its infringement, that monetary damages cannot adequately compensate Plaintiffs for

  this resulting irreparable harm, that the balance of equities weighs in favor of granting injunctive

  relief, or, at minimum, is neutral, and that public interest weighs in favor of granting a permanent

  injunction;

         NOW THEREFORE, having considered the entire record in this action, the verdict of the

  jury, relevant orders of the Court, and the papers submitted by the parties, and good cause having

  been shown:


                                                    1
Case 1:15-cv-00152-RGA Document 570-1 Filed 07/29/19 Page 3 of 11 PageID #: 44706



  I.     PROHIBITED ACTIVITIES – ’083 AND ’407 PATENTS

          [Bio-Rad’s Proposal for Section I:]

         IT IS HEREBY ORDERED that defendant 10X and any of its officers, agents, servants,

  employees, attorneys, customers, vendors, sales agents (including third party resellers and

  distributors) and persons or entities in active concert or participation with them, who receive actual

  notice of this Permanent Injunction, are permanently enjoined and restrained from infringing, or

  inducing or contributing to, the infringement of claims 1 and 9 of the ’083 Patent and claims 1, 10,

  and 11 of the ’407 Patent (collectively, the “’083 and ’407 Asserted Claims”) from the Effective

  Date (which is fourteen (14) days from the date of this signed Permanent Injunction) until these

  Patents’ expiration, by:

             (a) using within the United States any product that infringes the ’083 and ’407 Asserted

                 Claims, including without limitation the Chromium Genome/Exome, GemCode

                 Long Read, Chromium Single Cell 3’, or Chromium Single Cell V(D)J systems

                 (collectively, the “’083 and ’407 Accused Products”), and those no more than

                 colorably different;

             (b) inducing infringement by 10X’s United States customers of the ’083 and ’407

                 Asserted Claims by engaging in activities including, without limitation, the

                 following: (i) advertising, marketing, or otherwise promoting the ’083 and ’407

                 Accused Products; (ii) entering or fulfilling product orders, or setting, determining,

                 or approving terms of sale, for the ’083 and ’407 Accused Products; (iii) providing

                 customer service or other technical support relating to the ’083 and ’407 Accused

                 Products; (iv) negotiating or entering into licensing, representative, reseller, or

                 distributor agreements relating to the ’083 and ’407 Accused Products; (v)



                                                    2
Case 1:15-cv-00152-RGA Document 570-1 Filed 07/29/19 Page 4 of 11 PageID #: 44707



                 developing, designing, manufacturing, or having manufactured products

                 substantially similar to the ’083 and ’407 Accused Products; (vi) writing,

                 modifying, updating, drafting or otherwise preparing documentation regarding the

                 operation, use, or intended use of the ’083 and ’407 Accused Products;

             (c) contributing to infringement of the ’083 and ’407 Asserted Claims by selling within

                 the United States the ’083 and ’407 Accused Products or their components and

                 products no more than colorably different; and/or

             (d) supplying from the United States for combination abroad any component especially

                 made or especially adapted for use in claims 1 and 9 of the ’083 Patent and not a

                 staple article or commodity of commerce suitable for substantial noninfringing use,

                 including the ’083 and ’407 Accused Products or their components and products no

                 more than colorably different.

          [10X’s Proposal for Section I:]

         IT IS HEREBY ORDERED that, except in connection with the Permitted Activities

  provided in Section III, defendant 10X and any of its officers, agents, servants, employees,

  attorneys, and persons or entities in active concert or participation with them, who receive actual

  notice of this Permanent Injunction, are permanently enjoined and restrained from infringing, or

  inducing or contributing to, the infringement of claims 1 and 9 of the ’083 Patent and claims 1, 10,

  and 11 of the ’407 Patent (collectively, the “’083 and ’407 Asserted Claims”) from the Effective

  Date (which is fourteen (14) days from the date of this signed Permanent Injunction or the date on

  which any stay granted by the Court of Appeals for the Federal Circuit is lifted, whichever is later)

  until these Patents’ expiration, by:




                                                   3
Case 1:15-cv-00152-RGA Document 570-1 Filed 07/29/19 Page 5 of 11 PageID #: 44708



             (a) using within the United States any product that infringes the ’083 and ’407 Asserted

                Claims, including without limitation the Chromium Genome/Exome, GemCode

                Long Read, Chromium Single Cell 3’, or Chromium Single Cell V(D)J systems

                (collectively, the “’083 and ’407 Accused Products”), and those no more than

                colorably different;

             (b) actively inducing infringement of the ’083 and ’407 Asserted Claims by 10X’s

                United States customers of the ’083 and ’407 Accused Products;

             (c) contributing to infringement of the ’083 and ’407 Asserted Claims by selling within

                the United States the ’083 and ’407 Accused Products, products no more than

                colorably different, or their components where such components are especially

                made or especially adapted for use in an infringement of such patents, and are not

                a staple article or commodity of commerce suitable for substantial noninfringing

                use; and/or

             (d) supplying from the United States for combination abroad any component especially

                made or especially adapted for use in claims 1 and 9 of the ’083 Patent including

                the ’083 Accused Products, products no more than colorably different, or their

                components where such components are not a staple article or commodity of

                commerce suitable for substantial noninfringing use.

         None of the above prohibits 10X from making, using, or selling within the United States

  (or supplying from the United States) components of the ’083 and ’407 Accused Products for a

  non-infringing use.




                                                  4
Case 1:15-cv-00152-RGA Document 570-1 Filed 07/29/19 Page 6 of 11 PageID #: 44709



 II.     PROHIBITED ACTIVITIES – ’193 PATENT

         [Bio-Rad’s Proposal for Section II:]

         IT IS FURTHER HEREBY ORDERED that defendant 10X and any of its officers, agents,

  servants, employees, attorneys, customers, vendors, sales agents (including third party resellers

  and distributors) and persons or entities in active concert or participation with them, who receive

  actual notice of this Permanent Injunction, are permanently enjoined and restrained from

  infringing, or inducing or contributing to, the infringement of claims 6 and 8 of the ’193 Patent

  (collectively, the “’193 Asserted Claims”) from the Effective Date until the expiration of the ’193

  Patent, by:

                (a) using within the United States any product that infringes the ’193 Asserted Claims,

                   including without limitation the Chromium Genome/Exome and GemCode Long

                   Read systems (collectively, the “’193 Accused Products”) (collectively, the ’083

                   and ’407 Accused Products and ’193 Accused Products shall be referred to as the

                   “Enjoined Products”), and those no more than colorably different;

                (b) inducing infringement by 10X’s United States customers of the ’193 Asserted

                   Claims by engaging in activities including, without limitation, the following: (i)

                   advertising, marketing, or otherwise promoting the ’193 Accused Products; (ii)

                   entering or fulfilling product orders, or setting, determining, or approving terms of

                   sale, for the ’193 Accused Products; (iii) providing customer service or other

                   technical support relating to the ’193 Accused Products; (iv) negotiating or entering

                   into licensing, representative, reseller, or distributor agreements relating to the ’193

                   Accused Products; (v) developing, designing, manufacturing, or having

                   manufactured products substantially similar to the ’193 Accused Products; (vi)



                                                      5
Case 1:15-cv-00152-RGA Document 570-1 Filed 07/29/19 Page 7 of 11 PageID #: 44710



                   writing, modifying, updating, drafting or otherwise preparing documentation

                   regarding the operation, use, or intended use of any the ’193 Accused Products;

                   and/or

                (c) contributing to infringement of the ’193 Asserted Claims by selling within the

                   United States the ’193 Accused Products or their components and products no more

                   than colorably different.

         [10X’s Proposal for Section II:]

         IT IS FURTHER HEREBY ORDERED that, except in connection with the Permitted

  Activities provided in Section III, defendant 10X and any of its officers, agents, servants,

  employees, attorneys, and persons or entities in active concert or participation with them, who

  receive actual notice of this Permanent Injunction, are permanently enjoined and restrained from

  infringing, or inducing or contributing to, the infringement of claims 6 and 8 of the ’193 Patent

  (collectively, the “’193 Asserted Claims”) from the Effective Date until the expiration of the ’193

  Patent, by:

                (a) using within the United States any product that infringes the ’193 Asserted Claims,

                   including without limitation the Chromium Genome/Exome and GemCode Long

                   Read systems (collectively, the “’193 Accused Products”) (collectively, the ’083

                   and ’407 Accused Products and ’193 Accused Products shall be referred to as the

                   “Enjoined Products”), and those no more than colorably different;

                (b) actively inducing infringement of the ’193 Asserted Claims by 10X’s United States

                   customers of the ’193 Accused Products and those no more than colorably different;

                   and/or




                                                     6
Case 1:15-cv-00152-RGA Document 570-1 Filed 07/29/19 Page 8 of 11 PageID #: 44711



             (c) contributing to infringement of the ’193 Asserted Claims by selling within the

                    United States the ’193 Accused Products, products no more than colorably

                    different, or their components where such components are especially made or

                    especially adapted for use in an infringement of such patent and are not a staple

                    article or commodity of commerce suitable for substantial noninfringing use.

         None of the above prohibits 10X from making, using, or selling within the United States

  (or supplying from the United States) components of the ’193 Accused Products for a non-

  infringing use.

 III.    HISTORICAL INSTALLED BASE

         The Prohibited Activities of Sections I and II do not apply to consumables for use with the

  (i) the ’083 and ’407 Accused Products and components thereof, (ii) the ’193 Accused Products

  and components thereof, and (iii) products not colorably different from those that are sold or in

  use before the Effective Date of this injunction (collectively, the “Historical Installed Base”), as

  set forth below. Without violating this Permanent Injunction, 10X (and any of its officers, agents,

  servants, employees, attorneys, customers, vendors, sales agents (including third party resellers

  and distributors), and persons or entities in active concert or participation with them) may also

  continue to support, service, repair, and replace under warranty1 the Historical Installed Base.

         This authorization of the sale of consumables that would otherwise be prohibited under the

  Prohibited Activities in Sections I and II above for use with the Historical Installed Base

  (“Permitted Historical Installed Base Sales”) is conditional on 10X depositing into an interest-

  bearing escrow account a 15% royalty on [10X Proposal: the net revenue 10X receives from]



  1
    If 10X charges for a replacement under warranty, the revenue for that replacement will be subject
  to the 15% escrow deposit provisions below.

                                                    7
Case 1:15-cv-00152-RGA Document 570-1 Filed 07/29/19 Page 9 of 11 PageID #: 44712



  [Bio-Rad Proposal: the selling price to the end user of] the Permitted Historical Installed Base

  Sales until the expiration of the Patents In-Suit. These deposits shall be made within forty-five (45)

  days after March 31, June 30, September 30, or December 31 of a given calendar year. [Bio-Rad

  Proposal: In addition, within forty-five (45) days of the Effective Date 10X shall identify the,

  aggregate number of units and selling price of each infringing product sold before the entry of the

  injunction and after the verdict that is not included in the supplemental damage award together

  with a payment in escrow of a 15% royalty of the price to the end user of all such sales.] [10X

  objects to including Bio-Rad’s proposed language in the preceding sentence] Plaintiffs shall

  have a right to a quarterly royalty report in which 10X shall identify the aggregate [10X Proposal:

  amount of Permitted Historical Installed Base Sales] [Bio-Rad Proposal: selling price for each

  type of consumable product (for example by SKU) for which the royalty is paid ] and how it

  performed its royalty calculation and an annual accounting audit. If Plaintiffs request an annual

  accounting audit, the audit will be conducted during regular business hours by an independent,

  third-party auditor and only for the purpose of verifying 10X’s royalty statements and payments

  under this provision. The independent auditor shall be required to keep confidential all information

  received during any such inspection. Nothing in this injunction is an acknowledgement that 10X’s

  actions do not violate other Bio-Rad rights.

         The determination of the on-going royalty (if any) for the sales governed by this Section III

  (including the post-verdict, pre-injunction infringing sales) is SEVERED AND STAYED. The

  deposits required by this section do not prejudice the parties’ ability to propose and pursue a

  different royalty rate before this court or on appeal or to argue that such royalties are not proper.

  If the royalty amount, rate, or base are altered or the reasonable royalty finding is otherwise vacated

  or modified on appeal and/or based on this Court’s determination of the appropriate ongoing



                                                    8
Case 1:15-cv-00152-RGA Document 570-1 Filed 07/29/19 Page 10 of 11 PageID #: 44713



  royalty following appeal, necessary refunds or supplements will be made including appropriate

  interest.

  IV.     [Bio-Rad’s Proposed Section IV:] FUTURE INSTRUMENT SALES

          If, after the Effective Date, 10X sells instruments that are otherwise capable of operating

  with 10X consumables that have been found to infringe, 10X shall ensure that before such sale

  they have verifiably installed non user-modifiable firmware on all such instruments to preclude

  them from use with such infringing consumables or consumables not colorably different. This

  provision (and this Permanent Injunction in general) is not an acknowledgment by Plaintiffs that

  any of 10X’s activities do not violate Plaintiffs’ other rights.

          [10X objects to Bio-Rad’s Proposed Section IV as unnecessary, premature, and

  inappropriate to include.]

  V.      NOTICE

          IT IS FURTHER ORDERED that, within five (5) business days from the Effective Date,

  10X shall provide a copy of this Permanent Injunction to each customer, [Bio-Rad Proposal:

  vendor, sales representatives (including third party resellers and distributors), employee and all

  other persons in active concert or participation with them] [10X objects to including the

  preceding language proposed by Bio-Rad] as of the Effective Date. [Bio-Rad Proposal: So

  long as 10x sells infringing products, it shall provide a copy of this Permanent Injunction to each

  new customer, vendor, sales representatives (including third party resellers and distributors),

  employee, and all other persons in active concert or participation with them.] [10X objects to

  including Bio-Rad’s proposed language in the preceding sentence]




                                                     9
Case 1:15-cv-00152-RGA Document 570-1 Filed 07/29/19 Page 11 of 11 PageID #: 44714



           IT IS FURTHER ORDERED that, within fourteen (14) days from the Effective Date, 10X

  shall file with the Court under seal and serve on all parties a notice stating the names and addresses

  of each party that it has notified in compliance with this section.

  VI.      CONTINUING JURISDICTION

           The court specifically retains jurisdiction to enforce, modify, extend, or terminate this

  Permanent Injunction as the equities may require, upon a proper showing, and to adopt procedures

  for resolution of any dispute whether a product not specifically covered by this Permanent

  Injunction is more than colorably different from the adjudged infringing products.



           IT IS SO ORDERED.




  Dated:

                                                        The Honorable Richard G. Andrews
                                                        United States District Judge




                                                   10
